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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

  CINCOM SYSTEMS, INC.,                           : Case No. 1:20-cv-83
                                                  :
                 Plaintiff,                       : Judge Matthew W. McFarland
                                                  : Magistrate Judge Stephanie K. Bowman
         v.                                       :
                                                  :
  LABWARE, INC.,                                  :
                                                  :
                 Defendant.                       :

   JOINT MOTION REGARDING BRIEFING SCHEDULE ON PENDING MOTIONS
    AND REQUEST FOR LEAVE TO FILE ANTICIPATED BRIEFS UNDER SEAL

        Pursuant to the Court’s September 27, 2022 Minute Entry, the Court’s January 12, 2023

 Order (ECF No. 51) and the Court’s January 13, 2023 Order (ECF No. 64), Plaintiff Cincom

 Systems, Inc. (“Cincom”) and Defendant LabWare, Inc. (“LabWare”), by and through counsel,

 respectfully submit this Joint Motion Regarding Briefing Schedule on Pending Motions and

 Request to File Anticipated Briefs Under Seal.

        Briefing Schedule. On January 17, 2023, both parties filed cross-motions for summary

 judgment and, in addition, Cincom also filed two Daubert motions and two motions in limine. The

 current Scheduling Order (see Sept. 27, 2022 Minute Order) provides that opposition briefs to

 dispositive motions are due February 10, 2023. The parties have agreed to consolidate the briefing

 schedule so that all opposition and reply briefs on the pending motions are due on the same days.

 Therefore, the parties respectfully request the Court enter an Order confirming the briefing

 scheduling as follows:

        (1)     The parties shall file opposition briefs to the pending summary judgment,
                Daubert, and in limine motions on or before Friday, February 10, 2023; and
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         (2)    The parties shall file reply briefs for the pending summary judgment,
                Daubert, and in limine motions or before Monday, February 27, 2023.

         Request for Leave to File Anticipated Briefs Under Seal. In addition, and pursuant to the

 Court’s January 12, 2023 Order (ECF No. 51) and the Court’s January 13, 2023 Order (ECF

 No. 64), the parties also respectfully request leave to file under seal their anticipated opposition

 and reply briefs for the pending summary judgment, Daubert, and in limine motions.

         While the Sixth Circuit recognizes a strong presumption against the sealing of documents,

 Shane Grp., Inc. v. Blue Cross Blue Shield, 825 F.3d 299, 305 (6th Cir. 2016), this presumption

 may be overcome by “trade secrets, information covered by a recognized privilege (such as the

 attorney-client privilege), and information required by statute to be maintained in confidence[.]”

 Id. at 308 (citing Baxter Int’l, Inc. v. Abbott Labs., 297 F.3d 544, 546 (7th Cir. 2002)). “To meet

 this burden, the party must show three things: (1) a compelling interest in sealing the records; (2)

 that the interest in sealing outweighs the public’s interest in accessing the records; and (3) that the

 request is narrowly tailored.” Kondash v. Kia Motors Am., Inc., 767 F. App’x 635, 637 (6th Cir.

 2019). To do so, the party must “analyze in detail, document by document, the propriety of secrecy,

 providing reasons and legal citations.” Id. (citing Shane Grp., 825 F.3d at 305).

         Here, the parties have met such burden. (ECF Nos. 51, 64.) For the same reasons the

 underlying record materials and motions were filed under seal, the parties anticipated opposition

 and reply briefs will also cite to and quote verbatim confidential record materials that contain

 CONFIDENTIAL and ATTORNEYS’ EYES ONLY materials that the Court previously ruled

 must be filed under seal. (See January 12, 2023 Order (ECF No. 51) and January 13, 2023 Order

 (ECF No. 64).) As such, both the anticipated opposition and reply briefs should also be filed under

 seal.


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 Date: January 19, 2023                      Respectfully submitted,

                                                /s/ Jeffrey T. Cox                       _
  /s/ Joseph M. Callow, Jr.                  Jeffrey T. Cox, Esq.
  Joseph M. Callow, Jr. (0061814)              jcox@ficlaw.com
  Collin L. Ryan (0095810)                   Stephen A. Weigand, Esq.
  Carson E. Miller (0100203)                   sweigand@ficlaw.com
  KEATING MUETHING & KLEKAMP, PLL            FARUKI PLL
  One East Fourth Street, Suite 1400         110 N. Main Street, Suite 1600
  Cincinnati, OH 45202                       Dayton, OH 45402
  Tel.: (513) 579-6400                       Tel: (937) 227-3700
  Fax: (513) 579-6457
  Email: jcallow@kmklaw.com                  John Gary Maynard, Esq. (pro hac vice)
          cryan@kmklaw.com                     jgmaynard@hunton.com
           carson.miller@kmklaw.com          Matthew J. Ricciardi, Esq. (pro hac vice)
                                               mricciardi@hunton.com
  Counsel for Cincom Systems, Inc.           HUNTON ANDREWS KURTH LLP
                                             2200 Pennsylvania Avenue, NW
                                             Washington, DC 20037
                                             Tel: (202) 955-1500
                                             Fax: (202) 778-2201

                                             Counsel for LabWare, Inc.




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 19, 2023, I electronically filed the foregoing document

 with the Clerk of Court using the CM/ECF system, which will automatically send email

 notification of such filing to all counsel of record.

                                                /s/ Joseph M. Callow, Jr.
                                                Joseph M. Callow, Jr.




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